
PER CURIAM: *
Court-appointed counsel for Armando Jimenez-Flores has moved for leave to withdraw and has filed a brief in accordance with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Jimenez-Flores has not filed a response. Our independent review of the brief and the record discloses no nonfrivolous issue for appeal. Accordingly, the motion for leave to withdraw is GRANTED, counsel is excused from further responsibilities herein, and the APPEAL IS DISMISSED. See 5th Cir. R. 42.2.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under *321the limited circumstances set forth in 5th Cir. R. 47.5.4.

